 

Case 2:17-cV-08712-I\/|LCF-DI\/|D Document 1 Filed 09/06/17 Page 1 of 22

PFO $E 15 (Rcv, llil()) Compiaint for \r'iolalion nfCivil Rights (Non*[’risoncr)
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UNITED STATES DrsTRro;r_ C.QURT _ . _t ,\. %\¢

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Eastern District of I.ouisiana _\

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Division CL-*-"“

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Case No.

 

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I’iaintiff(s)
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COMPLAINT FOR VIOLATION OF CIVIL RIGHTS
(Non-Prisonel‘ Complaint)

 

NOTICE

Federal Rules ofCivil Procedure 5.2 addresses the privacy and security concerns resuiting from public access to
electronic court files Under this rule, papers filed with the court should nat contain: an individual’s full social
security number or full birth date; the full name ofa person known to be a minor; ora complete financial account
number. A filing may include aniy: the last f`our digits of a social security number; the year of an individual’s
birth; a minor's initials; and the last four digits of a financial account number.

Except as noted in this form, plaintiff need not send cxhibits, affidavits grievance or witness statements, or any
other materials to the Clerl<’s Off`rce with this complaint

fn order for your complaint to be filed, it must be accompanied by the filing f`ee or an application to proceed in
forma pauperis

 

 

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Pi'o Se 15 (Rcv` 12."16} Comp|aint f`or Vioiation OFCz`vii Righls (Non-Prisoncr]

I. TheParties to This Complaint 1 i? m @i"::§‘?' § 9
\_ ' '=."§,~ . M
A. '[`he Plnintiff(s)
SECT. t ltlllt(i..L 5

Provide the information below for each plaintiff named in the complaint Attach additional pages if

 

 

 

 

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E-l\/lail Address I) J` K,m`_;g_.b 'é`m pn'i. CQ$YY]
B. The Defendant(s)

Provide the information below for each defendant named in the complaint, whether the defendant is an
individual, a government agency, an organization or a corporation For an individual defendant,
include the person’sjob or title (ifknown) and check whether you are bringing this complaint against
them in their individual capacity or official capacity, or both. Attach additional pages ifneeded.

Det`endant No. l

 

 

 

 

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E-Mail Addr€SS (g`f!mown)

 

|:‘ lndividual capacity E Official capacity

Defendant No. 2

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Pro Sc 15 (Rcv, 12/16) COmplairtl for Vtoialion ofCivil Rights (Nun-Prisoncr)

II.

Defendant No. 3
Name
10b Or Titl€ ([fknown)
Address

County
Telephone Number
E-Méiii AdCit`€.SS ({)"known)

Defendant No. 4
Name
10b or Title nfrmwn)
Address

County
Telephone Number
E-Mc'lii Addl'€$$ (ift'cnown)

Basis for Jurisdietion

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[:\ individual Capaeiry 1;\ orn<;iar capacity

Under 42 U.S.C. § 1983, you may sue state or local officials for the “deprivation of any rights, ptivi|eges, or
immunities secured by the Constitution and [federal iaws]~” Under Br'vens v. Six Unknawn NamedAgents of
Fea'erai Bureau ofNarcoties, 403 U.S. 388 (1971), you may sue federal officials for the violation of certain

constitutional rights.

A. Are you bringing suit against (checka!l that appiy):

i:i Federal officials (a Bivens claim)

|::i State or local officials (a § 1983 claim)

B. Section 1983 allows claims alleging the “deprivation of any rights, privileges, or immunities secured by
the Constitution and [federal laws]." 42 U.S.C. § 1983. lfyou are suing under section 19831 what
federal constitutional or statutory right(s) do you claim is/are being violated by state or local officials?

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'SLM¢~LQ CGD‘(’,

C. Plaintiffs suing under ghens may only recover t"or the violation of certain constitutional rights If you
are suing under Bz'vens, what constitutional right(s) do you claim is/are being vioiated by federal

officials?

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Pro Sc 15 (Rev. 12i16) Complalnt for Violation ol'Clvi| ngi~.ts (Non-l’risoner)

III.

 

D. Section 1983 allows defendants to be found iiable only when they have acted “under color of any
statute, ordinance, regulation, custom, or usage, of any State or Tel'l'itory or the District of Columbia.”
42 U.S.C. § 1983. lfyou are string under section 1983, explain how each defendant acted under color
of state or local law. lf you are suing under Br'vens, explain how each defendant acted under color of
federal law. Attach additional pages if needed

 

Statement of Ciaim

State as briefly as possible the facts of your case. Describe how each defendant was personally involved in the
alleged wrongful action, along with the dates and locations of all relevant events. You may wish to include
further details such as the names of other persons involved in the events giving rise to your claims Do not cite
any cases or statutes if more than one claim is asserted, number each claim and write a short and plain
statement of each claim in a separate paragraph. Attach additional pages ifneeded.

A. Where did the events giving rise to your claim(s) occur? bL»€,H_S =;{WD Loq la nn
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B. What date and approximate time did the events giving rise to your claim(s) occur'? fg__[ 4/ 143 bags

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C. What are the facts underlying your claim(s)? (For exanzp!e.' Wirat happened to yon? Wha a’r'd what?
Was anyone else inva!‘.)ea'? Whr) eise saw what happened?)

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l’to Sc lS (Revl 12/l6} Complaint l`or Vioiation ofCivil flights (Non-Prisoner]

IV. Injuries

If you sustained injuries related to the events alleged above, describe your injuries and state what medical
treatment, if any, you required and did or did not receive.

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V. Relicf

State briefly what you want the court to do for you. l\/lal<e no legal arguments Do not cite any cases or statutes
lf requesting money damages, include the amounts of any actual damages and/or punitive damages claimed for
the acts alleged. Explain the basis for these claims

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Pro Se l5 (Rev. 12/16) Complaint for Violntion ofCivil Rights (Non+l"risoner}

VI.

Certii'rcation and Closing

Under Federal Rule of Civil Procedure l l, by signing below, l certify to the best of my knowledge, information,
and beliefthat this complaint (l) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identitied, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule l l.

A. For Parties Without an Attorney
l agree to provide the Clerl<’s Office with any changes to my address where case-related papers may be

served. I understand that my failure to keep a current address on file with the Clerl<’s Offlce may result
in the dismissal of my case.

Date ofsigning: q (Qg /Z.O/ 7

 

Signature of Plainti

Printed Name ofPlaintiff % iv \`-/' ¢W §

B. For Attorneys

 

Date ofsigning:

Signature ofAttomey ¢~;;:),Z? $f
Printed Name of Attorney

 

 

 

 

 

 

Bar Number
Name of lsaw Firm
Address mim-
Cr'ry Smre Zr`p Code
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Facts of Claim § fw era fish l :__;l‘- `] aj
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1. Wrongfu| termination/Reta|iation- We||s Fargo and management retaliated regarding a
transaction that violated their own lending guidelines "FL|P” red flag- When l notified direct
manager of an altered sales agreement provided by the realtor to push this loan to approval
after the assigned loan underwriter had already decided and documented the file as suspended
subject to denial and conditions ofa valid sales agreement lVly manager and the processor tried
to slip the false sales agreement by me while | was at lunch and when 1 discovered it at 4pm by
reviewing the file, | brought it to my manager's attention who reviewed it and acknowledged
the false contract and told me directly he would pursue a new contract and l asked him what
about the fraudulent activity, he said to me that | needed the closing, do not worry about it and
| explained to him that l did not need a fraudulent loan and was not that desperate. | had a
scheduled off day the next day sol notated the permanent file in the computer system and
alerted the loan underwriter via emai| and management |ncidenta||y the Loan Underwriter was
on vacation so management tried to slip the fraud deal to a middle manager to quickly get this
deal done with pressure from a real estate office that shares rental space with Wel|s in an
adjoining business. This loan was pushed through intimidation and by my firing. The loan closed
with the fraud alert.

2. r’Gaming" and unrealistic sales goals. When l was hired on 8/13/16 and a start date a week later.
l\/lanagement presented sales goals from September 3, 2013. Approximate|y 3 years prior to my
hiring. At that time, | had no idea what the numbers were based on and management through
the entire year did not provide performance reviews at all during my one-year tenure. Basically
the ”gaming” would be charts drafted called a ”bacon" board and rankings among 10-20 branch
based loan officers The "gaming” was that the manager’s, area director, and area management
would distribute sales leads to their favorites and give access to obtaining leads to their
favorites and sand bag terminated/retired loan officer clients to their favorites. The lead
distribution from management was completely biased and unfair. The sales goals Were not
calculated based on current market activity. They made new hires (myself] sign an employment
contract based on 2013 and not 2016. Not until l was four months on the job was l familiar with
the term "the hole” which is a deficit vehicle used to intimidate and embarrass one for not
meeting unrealistic sales goa|s. The Louisiana market was fighting for acceptance after being
rejected for years by realtors. The loan officer's income is based on internal leads and basically
begging realtors to reconsider We||s Fargo. Sa|es calls would result in being put out of open
houses and realtors asking me never to call them that they "hate" We||s Fargo. By management
having their favorites based on race, age it was very difficult to meet the measurements set
forth by unrealistic sales goals and unmeasurab|e. The sandbagging game allowed their favorites
to always be in 1st and 2"d place and maintain employment

3. Violation of Business and professional Codes- l\/|y first three months tenure, there was a federal
audit. l passed the audit but one question that | answered was brought to my managers
attention because our office had violated policy on Regulation B of FD|C l_AW. The branch
manager practiced and trained loan officers to keep files at their desk in oppose to submitting
the files to processing and underwriting because his bonus was based on files that were
approved fast. Customer's would apply in person/phone or web but would have all their

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Facts of Claim

information We are required by law to submit the application but management would punish
you if you submit a loan per the regulation When the auditor asked me the question, l told him
the truth, that at this branch our manager ask us to hold the files. The auditor reported back to
manager and then later he came to my cube and scolded me and said | through him under the
bus. l told him, l was not going to lie to the auditor and apologized, He said he had "big
shoulders”. The other time he said he had ”blg shoulders” is when he kept telling me his
manager did not want to hire me that his life depended on me doing well .. l was the only black
loan officer at the time and this puzzled me and made me uncomfortable 1 told him my resume
and experience should be the reason that he hired me and that l am doing a good job which he
did not deny. This manager has always treated me badly between denying me an opportunity to
expense We|ls Fargo training in my first week of employment to not inviting me to team
lunches, to not celebrating my birthday as others were celebrated and to yelling at me in front
of my peers as well as calling me “Theresa" when a complicated loan transaction needed him to
go over guidelines in detail, he would be flustered and call me “Theresa" which lfound out later
that was his wife's name. lVly manager was terrified of his manager and the area director. He
would hardly go to bat on deals that needed special attention. He would let deals die or try to
cancel the loan without review. As a result many times there were missed opportunities to earn
income and to get referral clients from existing clients. The customer were so flustered they just
wanted to close and move on not based on my performance but moreover Wells Fargo's failure
to meet expectation in processing and clearing loans to close, which was their reputation that l
discovered one month in my tenure. Wells promised to improve, but it was not working during
the year l worked there.

4. Pricing customers higher and lock fee extension assessed. l\/lanagement made me go back to my
customers to either raise their interest rate and/or pay an extension fee to no fault ofthe
customers own. Simply because we had delays in processing and underwriting and closers. lt
was Wells fault that loans did not close on time- not the borrowers but they made us
manipulate the customer to pay the fee. l had at least 4 -6 customers who did not appreciate
this and some that cancelled their toans because of it. There were also loans in the process that
pre-paid appraisal fees and credit and were not refunded their fees when the loan was
suspended or denied without a thorough review by an underwriting team. |\/ly manager was too
intimidated and lack the underwriting knowledge to speak on my behalf. l feel that the
customer should not pay added fees just and that l should not have been used to make them
pay the fee. l\/ly manager would say ”do you want me to call your customer” to intimidate me
to make the call. Custorners were surveyed at the end of the transaction and would give low
scores and point out the reasons why they had a poor experience The result of these surveys
affected my earnings and my moral. l\/lany times, the customer would name the processor as
the problem and management but the loan officer is the one that is affected financially. So, my
earnings and my employment with Wells would be at risk based on a faulty system.

5. On the day that l was terminated, l was called in on my off day, the very next day from when |
reported to management the "Flip" transaction On the Wednesday before that Friday, l had a
one on one meeting with my manager discussing the next quarter goals. We discussed my
current sales goals and that l was the #2 originator in the branch in originating volume. There
was no discussion of me being terminated two days later. ln fact he was to expense me a new
black berry phone and assist me on lead generating efforts on this one on one discussion. The

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Facts of Claim

next day, Thursday, we had the Flip alert and fraud contract Friday l was terminated on my off
day, ask to report to work while l was off and when l arrived l was fired and ask to clear my desk
in front of my peers l believe l was fired for whistle blowing on the Flip deal and the fact l put
the notes in the computer system detailing everything that happened that Thursday night l was
not comfortable on how my manager did not take the fraudulent sales agreement seriously. He
basically said he would get another one tomorrow and tomorrow l was flred.

6. Wrongful Termination- Wells Fargo and management stated, "failure to meet minimal
standards” as the reason for termination, however with a clause "right to rehire". The problem
is their calculation of minimal standards was based on a 2013 contract and the fact they
determined this firing without considering that the processing office were closed in Florida due
to a national disaster for two weeks and that we had a flood and a mandate to not call
customers during a national weather disaster declared in Louisiana. in their calculation of my
failure to meet sales goals management failed to review 30-60 days that l was not even able to
do business due to office closures and national disasters affecting operations. l was fired in the
hurricane season Aug Sept and October were the months that they faulted me for which was
totally unfair. When l mentioned this to a deafear, they said we have the right to rehire you,
you are good but not the right fit This was a wrongful termination, a conscious disregard for
the rights of others and an act of oppression while working there. Fraud and malice on my
manager’s and the directors and caused me anguish and emotional suffering and | ask the court
to entitle me for full recovery and punitive damages. Also, to list/call other plaintiffs or
witnesses as the office was a toxic environment

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Retaliation and Unfair Termination .................................................. - ” “`
marie SECT.} t MAG»' §

l reported to my manager a fraudulent sales agreement that was in the

file when l reviewed it after returning from lunch of submitted bu realtor

circumventing my review by passing it off directly to processor/mg so

l would not see it. The loan was originally pending denial due to RED Fl_AG POL|CY GUlDE ON |LLEGAL
FLlPS

TRANSACT!ON AND WAS lDENT|F|ED AS SUCl-l as it had four elements do not meeting guidelines-one
being the sales

agreement and ownership of the seller held as an LLC l brought this to the attention of my manager in full
verification

and the next day on my off dayl | was emailed by my manager to come to the office for a "meeting"l l walked in
the front door and to the bathroom

he stopped me and said no, | need to see you now.l asked him ifl could go to the bathroom and he said
now...on|y to state that

We decided to terminate you today, claiming it was my sales performance not meeting minimum standards l
asked to speak to the area manager

who said, well you are great you will find anotherjob and we have a provision to rehire you..| asked him was
this because of the FL|P deal and he

said he knew nothing about it. l find that strange seeing that this was a serious violation of policy The loan was
rushed to a closing.

My response and proof. (documents to forward)

11/‘|/16

l was ranked #2 the sales person out of 15 loan officers with new loan

volume- why would | be fired in 30 days? Also l was penalized because there were two

national disasters during the time of their analysis of my "iack" of production, a major flood and a hurricane in
two of our markets that sanctioned customers

and our processing office was shut down for a little over a week. l lost 3 weeks in August 2016

and 2 weeks in September and some time in October when the office moved which affected my volume beyond
my control

The termination was based on averaging those affected months (Aug Sept October) when l Was unable to
originate business and also

were the same months customer;s were not seeking purchases or refinancing due to flooding damage. All loan
officers were placed on a mandatory DO NOT

CALL directive from management for all of Louisiana and Nlississippi- le termination was unjustified

Sex, Race, Equa| Pay, Discrimination Title Vl|

l\/lanagement picked teams to give leads to- i was not included on the team, although | had more experience.
.Records wiil reflect that there were NO BLACKS on the team.Those who were
selected on the team had more earnings because they got the customersfleads.

Processors had favorites loan officers and made the "team" loans priority ....We had only two processors that
handled 15 loan ofhcers.

N|y loan applicants were treated unfairlyl process deiayed/mishandled and miscalculations with lack of
knowledge of guidelines

| repeatedly reported this to management and he said that the processors do not report to him and that black
women need to get along We had two black processors and l was the only black loan officer at the time)
This resulted in cancellations customer complaints and no referral business affecting my ability to reach the
goals

There were three white loan officers on the brink of firing, instead of getting fired, Nlanagement created new
positions
for all three |Vlike was made an assistant to Pam....Brock was made an assistant to 3 Loan officers and

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Erica was assisting the manager and was given her mother's pipeline of files since the manager fired her mom
a few weeks back.

Basically, Erica kept herjob in exchange for clearing up her mom's loans in the system (NEPOTlSlvl). lVlom got
fired for sales performance

Her mom also had a sudden stroke on the job and was out for a month and when she returned back to work
she was fired two weeks later.

| was not offered an alternative position just terminated with an option to rehire

Sex and Ageism ..... |'ve worked there a year and out of all the firings Rebecca, Ann, Debbie, Pem, l\illel Scartett
and
Sheree all women over 40 were terminated.

By firing me on the first of the month 12/9/16...was strategically planned that l would not have closings to

cure the deficit derived from new hire "advances" whereby an originator will work four months on advances
the fifth month you are on

your own to cure your deficit and stay out of the "hoie". But because the back-office processing was so poor,
plus the closed office and hurricane and flood

of the market | was not out of the "ho|e" on 1219/16 l had enough loans in the pipeline but they had not closed
yet_

At the time of my firing | was approximately SSk in the "ho|e"...which my December closings

would have gotten me out the hole...management knew it because l originated 2 million in volume and was the
#2 sales person in

November._.At my firing, l asked, what about my commission on the loans in my pipeline that are close to or
cleared to close? his

response was.. "if it closes in 30 days, l will get paid". With a margin of only $3k in the hole and $2 million in
originating volume, it

was possible that l met performance standards.- plus initially my manager lied, he said lwas $9k in the hole
and

| knew my own numbers l asked him to show me how he got SQk and he started fumbling and stuttering and
had to

reveal it was about S2`700...~this is why l know the reason was the FL|P file, the fraudulent sales agreement
Why else would he call me in on

my day off '? the clay after l discovered the forged sales agreement? | am confident this can be proven with the
subpoena of documents There is a !_oan processing manager who has also n|ed suit Her name is Jodi
Lavery_..She

would be one of my witnesses because she would try to assist in getting my loans processed knowing that the
two

processors l mentioned above were sabotaging my dea|s...Also, Wells were making us charge customers a
rate extension penalty for missing their

locked dates when it was not the customer's fault lvly direct manager would make us assessisell this charge
against customer willingness to pay.. We had to cover

up our lack of processing and backlog and pass that charge to the borrower. l have at least 3-4 customers who
paid this fee

without even questioning because they were exhausted waiting to close.

lVly manager previously was a loan officer and was $13k in the hole when he was assigned his job as manager-
the previous manager left Wells Fargo and gave him the position

without firing him for minimum production standards $13k versus my $3k in the hole and others still working
there had more than my SEk

in the hole and kept theirjobs. l filed complaints to Human Resources regarding the Flip transaction and my
existing loans they owe me...Wells took

longer than 30 days because they practice "sandbagging" at the office so that other loan officers can benefit by
getting the

established pipelines of those who are fired or who quit it is a very crooked system there. l never got paid on
my closed

pipeline

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l want to sue for the loans that should have closed andl want to sue
for distress and the maximum financial penalty against Wells Fargo...
l have witnesses This was not a layoff- it was a clean up to hide violations and irregularities

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tim ram isi.aiiiii.»,, U.S. EQUAL EMPLOYMENT OPPORTUN|TY CoMMissioN

 

NoTicE oF RiGHT To SuE (lssqu oi\i REouEsr)

 

To: Kim N. Jones From: New Orleans Field Office
1712 Oretha Castle Haley, Apt 211 Hale Boggs Federal Building
New Or|eans, LA 70113 500 Poydras Street, Room 809

New Orleans, LA 70130

‘:E- §A<b{§’ u;:: `/;’:"'\d Ii'::'i '°:-]j heart
07 st /1 :- ,' ~f\.‘». p. .
\:| On behalf ofperson(s) aggrieved whose identity is
CONFlDENTIAL (29 CFR §1601.7(a)) SECT E MAG’ 5

    

 

EEOC Charge No‘ EEOC Representative Te|ephone No.
lllli|dred B. Johnson,
461-2017»00923 |ntake Supervisor ’ (504) 595-2827

 

(See also the additional information enclosed with this fom"i.)
NoTicE To THE PERsoN AGGRiEon:

Title Vll of the Civil Rights Act of 1964, the Americans with Disabilities Act (ADA), or the Genetic lnformation Nondiscrimination
Act {G'.NA}: This is your l\..lotice of Right to Sue. issued under Title Vlll the ADA or GlNA based on the above-numbered charge. lt has
been issued at your request Your lawsuit under Title Vll, the ADA or GlNA must be filed in a federal or state court W|TH|N 90 DAYS
of your receipt of this notice; or your right to sue based on this charge will be lost. (The time limit for filing suit based on a claim under
state law may be different.)

Nlore than 180 days have passed since the tiling of this charge.

Less than 180 days have passed since the filing of this charge, but l have determined that it is unlikely that the EEOC will
be able to complete its administrative processing within 180 days from the filing of this charge

The EEOC is terminating its processing of this charge.

EH HE

The EEOC will continue to process this charge

Age Discrimination in Employment Act (ADEA): You may sue under the ADEA at any time from 60 days after the charge was filed until
90 days after you receive notice that we have completed action on the charge. ln this regard, the paragraph marked below applies to
your case:

The EEOC is closing your case. Therefore, your lawsuit under the ADEA must be filed in federal or state court W|TH|N
90 DA‘(S of your receipt of this Notice. Otherwise, your right to sue based on the above-numbered charge will be lost.

l:l The EEOC is continuing its handling of your ADEA case. However. if 60 days have passed since the filing of the charge,
you may file suit in federal or state court under the ADEA at this time.

Equa| Pay Act (EPA): ¥ou already have the right to sue under the EPA (i`iling an EEOC charge is not required.) EPA suits must be brought
in federal or state court within 2 years (3 years for willful violations) of the alleged EPA underpayment This means that backpay due for
any violations that occurred more than 2 years [3 yearsi before you file suit may not be collectible.

lf you f`i|e suit. based on this charge, please send a copy of your court complaint to this ofhce.

On behalf of the Commission

00000¢/% /f afa/um a/r/M/r
Enclosures(s) ( f/l/ Keithj{Hi"’ / /(Date Mai'led)
Director

C°i Eiaine Mccieiiion

Corporate Emp|oyee Relations
WELLS FARGO AND CO

301 S. Co|lege St., 22nd FL
.Mailcode: D1053-300
Char|otte, NC 28202

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Enclosure with EEOC
Form161-El(11iis)

lNFoRMATloN RELATED TO FlLlNG SulT
UNDER THE LAws ENFoRcED BY THE EEOC

(This information relates to filing suit in Federal or State court under Federal law.
if you also plan to sue claiming violations of State law, please be aware that time limits and other
provisions of State law may be shorter or more limited than those described below.)

Title Vll of the Civil Rights Act, the Americans with Disabilities Act (ADA),
the Genetic information Nondiscrimination Act (GINA), or the Age
Discrimination in Emp|oyment Act (ADEA):

PRIVATE SUIT RlGHTS --

ln order to pursue this matter further, you must file a lawsuit against the respondent(s) named in the charge within
90 days of the date you receive this Notice. Therefore, you should keep a record of this date. Once this 90-
day period is over, your right to sue based on the charge referred to in this Notice will be lost. lf you intend to
consult an attorney, you should do so promptly Give your attorney a copy of this Notice, and its envelope, and tell
him or her the date you received it. Furthermorel in order to avoid any question that you did not act in a timely
manner, it is prudent that your suit be filed within 90 days of the date this Notice was mailed to you (as
indicated where the Notice is signed) or the date of the postmark, if later.

"rour lawsuit may be filed in U.S. District Court or a State court of competent jurisdiction (Usua|lyl the appropriate
State court is the general civil trial court.) Whether you file in Federa| or State court is a matter for you to decide
after talking to your attorney Filing this Notice is not enough. You must file a "complaint" that contains a short
statement of the facts of your case which shows that you are entitled to relief. Courts often require that a copy of
your charge must be attached to the complaint you file in court li so, you should remove your birth date from the
charge. Some courts will not accept your complaint where the charge includes a date of birth. Your suit may include
any matter alleged in the charge orl to the extent permitted by court decisions matters like or related to the matters
alleged in the charge Generally, suits are brought in the State where the alleged unlawful practice occurred, but in
some cases can be brought where relevant employment records are kept, where the employment would have
been, or where the respondent has its main office. lf you have simple questions, you usually can get answers from
the office of the clerk of the court where you are bringing suit, but do not expect that office to write your complaint
or make legal strategy decisions for you.

PRlvATE SulT RiGHTs -- Equal Pay Act (EPA):

EF'A suits must be filed in court within 2 years (3 years for willful violations) of the alleged EPA underpayment back
pay due for violations that occurred more than 2 years 13 years) before you file suit may not be collectible. For
examp|e, if you were underpaid under the EPA for work performed from 7l‘ll08 to 12l1l08, you should file suit
before 7l1l10 - not12l1l10 --in order to recover unpaid wages due for Ju|y 2008. This time limit for filing an EPA
suit is separate from the 90-day filing period under Title V||, the ADA, GlNA or the ADEA referred to above
Thereforel if you also plan to sue under Title Vll, the ADA, G|NA or the ADEA, in addition to suing on the EPA
claiml suit must be filed within 90 days of this Notice @_d within the 2- or 3-year EPA back pay recovery period.

ATToa rev RaPREsaNrATioN -- Title Vlt, the ADA or GlNA:

|f you cannot afford or have been unable to obtain a lawyer to represent youl the U.S. District Court having jurisdiction
in your case may, in limited circumstances assist you in obtaining a lawyer Requests for such assistance must be
made to the U.S. District Court in the form and manner it requires (you should be prepared to explain in detail your
efforts to retain an attorney). Requests should be made well before the end of the 90-day period mentioned abovel
because such requests do _rgt_ relieve you of the requirement to bring suit within 90 days.

ATTORNEY REFERRAL AND EEOC ASS|STANCE -- A" Statufe$:

You may contact the EEOC representative shown on your Notice if you need help in finding a lawyer or if you have any
questions about your legal rights, including advice on which U.S. District Court can hear your case lf you need to
inspect or obtain a copy of information in EEOC's file on the charge, please request it promptly in writing and provide
your charge number (as shown on your Notice). While EEOC destroys charge hles after a certain timel all charge tiles
are kept for at least 6 months after our last action on the case. Therefore, if you file suit and want to review the charge
flle, please make your review request within 6 months of this Notice. (Before filing suit, any request should be
made within the next 90 days.)

iiF YOU FlLE SUl'l", PLEASE SEND A COPY OF YOUR COURT COMPLAINT TO THIS OFFlCE.

-' Case 2:17-cv-08712-|\/lLCF-D|\/lD Documentl Filed OQ/O€E_? l?g§&;tt$@t:;'z § G~D

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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amc ram animal . SECT¢ E MAGS z
CHARGE OF D[SCR|MjNAT[ON Charge Fresented To: Agency(les) Charge No(s):
This form ls affected by the F'rlvecy Acl of 1974. See enclosed Prlvacy Act FEFA Amendgd
Slalemeni and other information before completing this torm.
eeoc 461~2017-00923
Louisiana Commisslon On Human Rights and EEOC
State or local Agency. li any
Name (iiidlcale Mr., Ms,, Mrs.) Home Phone (lricl. Area Coda) Date ot B|ith
lllls. Kim N. Jones (312) 339-5425 1960
Straet Addrees Clly, State and Z|P Code
1712 Oretha Cast|e Haley, Apt 211, New Orleans, LA 70113
klade is the Employer, Labor Organlzaiion, Empioyment Agency, Apprent|ceshlp Commlttee, or State or Loca| GovemmentAgsncy That l Believe
Dlscrlmlnsted Agalnst lyle or Others. {lf more than two, llst under PARTlCULAl-'iS below.l
Narrie No. Ernpioyoes, Membero Phone Nci. (lncluo'a Aree Code)
WELLS FARGO Human Resources Dept. 15 - 100 (50-%} 515-'.'124
SlrsetAddresa Clty. State end ZlP Code
4141 Veterans Road, St Landry Plaza, lllletairie, LA 70002 wm 1 8 mfg
"l
41 0 int iad hangs/isp same santana ala away al two aaa »Boa,z> //<B
Name l l NG- Emi>lviiaas. Membw j Phcne No. (riiclge'e-'i§ea Coo'e)
DlscRiMlNATloN BASED on (cnecr< appropriate boxres).) DATE(s} DISCRiMlNATioN Took PLACE

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demolition |: nos |::] oisneiur\r [:| sENETiciNFoRMATioN
otnenispeciiyi Equal Pay |:] comiNuiNs AcTioii

 

 

THE PART|CULARS ARE ill additional paper is needed attach extra sheet(s)):
l began my employment with We|ls Fargo on August17, 2015 most recently as Home
llllortgage Consultant earning $12.00 per hour. On December 7, 2016, l had a meeting with
Branch liiianager, Nlaurice Wiiliams, to discuss the goals for 2017. There was no mention of
poor performance plus l was ranked # 2 originating sales person. On December 9, 2016, l
was terminated by Branch l\llanager, llllaurice Williams; Area llllanager, Steven Cook; and
District Nlanager, Jamie Kleinert. The company employs`over than 15 persons.

According to the company, l was discharged for not meeting minimum production standard
sales.

i believe l have been discriminated against because of my sex, Female: race, Black; and
retaliated against in violation of Title Vl| of the Clvil Rights Act of 1964, as amended; and my
wages in violation of the Equal Pay Act (EPA).

 

 

l want this charge filed with bolh the EEOC and the State or local Agency' if any. l NOTARY ~ When necessary FU»" Slalfl and LUCEFAQSHGY Reliuilam€nfs
will advise the agencies lt l change my address or phone number and |wl|l
cooperate fully with them initio processing of my charge in accordance with their

 

 

 

pm°°durea' l swear or affirm that l have read the above charge and that lt is true to
l declare under penalty of perjury that the above ls true and correct the best of my knowledng rmat|on and bellef.
r"‘” sioiin n

    
 

S SGR|B AND SW N TO BEFORE ME TH|S DATE

(monlh. day_ yeah

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Date

 

 

 

 

 

 

 

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Mintmum Production Volu_me Standards
Application and Funded

Distributed Retail Sales

Eflect`tve: September 3, 2013

 

 

HMC. PMB and Retail Saies Supervisors

Renovatlon
HMC, PMB and Retail Saies Supervisors

 

l /3/2§

New Hires

Six real deal applications by the four-month employment anniversary

Four real deal applications by the four-month employment anniversary

 

in role for 12 months or more

EJ,Q_M,/i __

Appiications ~ 6 real deal purchase applications or $I.SM Totai App|ication
tPurchase and Refinance) Reai Deal Doilars in the prior 3 months

AND

one ofthe following must be metz

i. Fund $i.JS million in loan volume in the prior 3 months
_?_ Fund $5.4 rniiiion in loan volume in the last i2 months
3. Fund 9 purchase units in the prior 3 months

4. Fund 36 purchase units in the prior 12 months

Must meet both application and funded volume rei:juirei'rtentsl _

 

one of the following must be metz

i. Fund 5750.000 in loan volume in the prior 3 months
2. Fund 83 million in loan volume in thc-last 12 months
3. Fund 6 purchase units in the prior 3 months

4. Fund 24 purchase units in the prior t2 months

 

Additionel information

- Fund refers to ali funded. non-brokered first lien products
~ Prefer to refer is credited to the funding HMC
- Minimum production standards do not apply to lr. HMCs

 

 

- Now hires not meeting the minimum requirement will be subject to termination

~ HMCs and Retail Saies Supervisors in role for 12 months or more that are not meeting production criteria as outlined above
on an ongoing base. throughout employment will be subject to termination
We reserve the right to change or modify these minimum standards ar any time

 

- l acknowledge receipt of Minimum Production performance standards and my understanding of its application to my employment

- lacknow|edge l have read and will adhere to the Minimum Production Standards.
- l acknowledge that the minimum production standards are subject to periodic review and may be adjusted at any time for any reason with or without notice

¢ l acknowledge that these standards and any adjustments are posted on the Saies Centra| Portal.

LKim Jones

 

Print blame

 

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Emp|cryee |D

 

 

 

 

il 2015 We|ls Fargo Bank, N.A. Al| Rights Re'ierved_ MEmbt-r FDIC l~iRSt'iS-il (Re'v Ui-OSr'l$]

E_YZLa‘//s"

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Consumer Lending Group

 

WELLS Employee Relations
FARGO v ,
URGENT REVIEW- TIM SLOAN' PRESIDENT-CEO SECT° t MAG¢

EMPLOYEE REQUEST TO ESCALATE TO PR.`ESIDENT OF VVELLS FARGO
415-975-7151-Fax- Phone 1-866-878-5865
RE: Termination Revt'ew Reques't

You have requested to have the circumstances of your termination reviewed Your concerns are
important to us and will be reviewed in accordance with the Company’s Dispute Resolution Process.
Please complete the Dispute Resolution Request Fortn and return as follows:

 

For former Team Members Via Mail to: Consumer Lending Group Employee Relations
within the Consumer Attn: Termination Rev"iew

Lending Group MAC X2401-02A

(e.g. CCS, Home Lending) One Home Campus, Des Moines, lA 50328.

Via Fax to: (866) 672-6595

or via E-mail to

ConsumerLendingGrouBEmglo¥eeRelationsGrouE@wellsfttrgo.com

 

Once returned, your request will be forwarded to an Employee Relations Consultant for research and response
Conducting an investigation takes time; We will make every attempt to conclude the review within 60 days.
Employee Relations will contact you to discuss the findings and outcome. Please understand that initiating this
appeal does not guarantee a reversal of the termination decision.

Thank you for giving us the opportunity to look into this matter.

Wells Fargo Employee Relations
Enclosure

We|ls Fargo Bani<, N.A. (Revised 08/2011)

"" WELLS

Case 2:17-cV-08712-l\/1LCF-Dl\/1D Docun?t §M,Filed QS.§Q§AJ.?¢»L]P@,@Q 19 »
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FARGO

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Dispute Resolution Request

Explanation of Dispute Resolution Process:

Wells Fargo strives to make sure that all team members have dispute resolution methods available to
them when needed. Team members are encouraged to raise Concerns to management, Human
Resources and/or Employee Relations. The Dispute Reso|ution process is designed to address concerns in
an impartial and objective manner and review situations to determine if decisions were consistent with
We|ls Fargo’s Vision and Values, employment policies and business practicesl

Procedure for Requesting Dispute Resolut`lon:

It’s important to begin the process promptly when the issue arises (normally within 30 days), because
delay can affect Wells Fargo's ability to address your concern. You may make your request by contacting
your manager, Human Resources or Employee Relations, or by completing this form.

There may be some situations in which additional requests for reviews may be denied based on the
circumstances If this is the case for your requestr you will be notified of that fact by an HR professional.

If your Dispute Resolution Requesl: is approved for review, after discussing the matter with you and
gathering information from others as necessaryr a decision on your request will be communicated to you
either verbally or in writing upon completion of the review.

Please complete and return this form if you wish to submit this request, or call your HR

Professional if you’ve not yet spoken to him/her (see contact information at the end of
this form).

Team Membet' Information

 

Date

1219/16

 

Team Member’s Narne

Kim N. Jones

 

Employee ID #

1577392

 

Supervisors Name

ivlaurice Williams

 

Team Members Position/Job Title

HIVIC

 

Business Group/Dept

Tri-Slates- Area 1

 

Location (City & State)

Nletairie LA

 

Mail Code

70117

 

Team Metnbers Work Phone

504-830-3501

 

Team Member’s Home/Cell Phone

312-339-5425

 

Work Days/Hours

 

Team Member’s Personal Email

djkimya@grnail.com

 

 

Team Member’s Home Address

 

1712 Oretha Castle l-ialey New Orleans l..A 70113

 

 

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II. Nature of your Concern(s)/Complaint:

P|ease note that it is important to provide as much detail as possible so that we may fully review your
concern(s). Please take the time to consider the issues and provide all relevant information you have,
answering each question to the fullest extent possible. You may attach copies of additional
documentation/information (e.g., notesr emails, etc.) that you would like considered in the review.

l. P|ease state the reason you are requesting dispute resolution:

Unfair termination- incorrect compensation- retaliation from mgr.- miscalculation/mlsrepresentation of sales
practices- favoritism and unprofessional work environment.

2. Has your employment with Wells Fargo been terminated? If so, what were you told was the reason for the
termination decision?

ll/linimum Production Standards

3. Wells Fargo's Dispute Resolution policy provides options for expressing work-related concerns. Did you speak
with a member of management or Human Resources to provide information about your concern/complaint? To
whom did you speak? What information did you share, and what was the response you received?

Spol<e to Gienda l_ongren in HR and Steve Cool< AM and BM - no response and fumt)led responses from
management- rush to termination- did not offer me an opportunity at all to discuss details - fired on my off day.

4. P|ease provide any additional information, background or context that you believe would be helpful to
understanding your request.

Context- need to review 12 month and “io date” total sales perforrnance- inadequate support from in-house processing and
staffing shortages Also need to review loans that took too long to process, cancellations and denials in error and preapprovals pending
and renovation loans pending - l_acl< of access to leads and unfair lead distribution processes applied by team leaders i.e.r BlVl and
AlVl.

III. Team Member Suggested Solution:
What outcome would you like to see as a result of utilizing the Dispute Reso|ution process?

Fair compensation ( I have not received compensation on pending close pipeline ), An apology for being
mistreated and disrespected, Review and correction on sales practices implemented and a review of
retaliation on the Padilla loan application that was in with both l-lLU and NDS review for RED l-'l_/-lG guides
on a Fl_iP- I informed my manager of an altered sales agreement on Thursday at Gpm- l was fired the
very next day for escalating the RED l-'LAG on the Fl_IP and the discovery of altered sales agreement BM
and HLP rushed file through by employing a l_M while the HLU was on vacation who had discussed denying
the file and so did the NDS Hl_U.- I spoke to my manager as to why this file was being rushed to an
approval when it was originally set for denial and he acted inappropriately start texting the realtor and
making fun/light of what I cited was wrong with the sales agreement so I placed online in the file of ali my
concerns and went home- I was fired the next day on my scheduled off day.

I affirm the information l provided is true and correct. I understand a thorough review of my
concern(s)/comp|aint will be conducted During the course of the review, specific issues may be addressed
with my supervisor, my supervisor's managerr human resources, or other people as necessary. 1
understand that if my concern(s)/complaint results in a formal fact~finding, I am expected to maintain
confidentiality of the process and not discuss this matter with anyone at We|ls Fargo other than my
manager, Human Resources or Empioyee Re|ations. I understand that Wells Fargo policy prohibits
retaliation towards a team member who raises a concern or complaint and that protection is available to
me. I also understand that if I feel thatl have suffered retaliation at work that 1 should contact Human
Resources or Emp|oyee Relations as soon as possible....ir contacted Glenda prior to the termination
regarding the retaliation on the PADILLA application» l also told her l was called in on my off day/offsite »

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that Friday afternoon the BM sent an email for me to come in for a mandatory meeting at 4pm-I came in
earlier at me....he would not let me go use the bathroom as it took me an hour to get there on the
bus..called me in the office and stated “WE” decided to terminate you...ir asked about my current pipeline
of 8 loans totaling close to 2million in volume and he said if they would close in 31 days l would be paid. I
have not been paid and it’s been over 3 weeks. I have correspondence with Gienda that covers more of
the complaint- Please feel free to review our email correspondence Thanl< you for your time and attention
to this.

gig _ (~1£¢»\ U`a»_u,,)
Date: ///j "/ ‘T‘/zq/ -7

Electronic signatures are accepted. This form should be returned to the CLG Emp|oyee Re|ations team via
the contact information on the preceding page. If you have difficulty sending the document, please call the
HR Advisor l_ine at 1.866.649.9589 for instructions on where to send it.

You will be notified that these materials have been received.

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Service Recognition Awarcl

Y e a r Congratulations Jfor demonstrating the highest caliber
of service and excellence to Wells Fargo customers, team

members, and shareholders

KIM JONES

Thank you,

ass

J°hn St“mpf Together We’ll go far
Chairman, President and CEO h

Wells Fargo 81 Company

 

 

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